Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document      Page 1 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document      Page 2 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document      Page 3 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document      Page 4 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document      Page 5 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document      Page 6 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document      Page 7 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document      Page 8 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document      Page 9 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 10 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 11 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 12 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 13 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 14 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 15 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 16 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 17 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 18 of 19
Case 01-24742   Doc 4541   Filed 07/09/10 Entered 07/09/10 14:01:31   Desc Main
                           Document     Page 19 of 19
